      Case 4:17-cv-01222 Document 10 Filed in TXSD on 09/07/17 Page 1 of 2
                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                                                                                     September 07, 2017
                           UNITED STATES DISTRICT COURT
                                                                                      David J. Bradley, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

IN RE:                                          §
                                                §    CIVIL ACTION NO. 4:17-CV-1222
TECHNICOOL SYSTEMS, INC.                        §
                                                §    BKRCY CASE NO. 15-34435-H1-7
               DEBTOR                           §
                                                §

                                      MEMORANDUM

                                                I.

       This case, on appeal from the Bankruptcy’s Court’s Order, approving employment

of counsel pursuant to 11 U.S.C. § 327(c) raises the question of whether the appellant,

Robert Furlough, who is not a creditor [no proof of claim filed], and has no stake in the

outcome of the Estate, has standing to object to the appointment of counsel who

concurrently represents a creditor. The Court is of the opinion and HOLDS that the

appellant has no standing.

                                               II.

       Section 327(c) provides an exception to the disqualification for employment of

counsel who is representing or has represented a creditor in the same proceeding. Section

327(c) provides in part that: “. . . unless there is objection by another creditor or the

United States trustee. . ., or the court determines that . . . there is an actual conflict of

interest . . .”, § 327(a) does not apply.

       The evidence presented and the arguments made by the appellant do not support a

finding of either; that the appellant is a creditor or that an actual conflict of interest exists.



1/2
      Case 4:17-cv-01222 Document 10 Filed in TXSD on 09/07/17 Page 2 of 2



See Younger v. Nat’l Union Fire Ins. Co. of Pittsburgh, 995 F.2d 547, 548 (5th Cir.

1993). Therefore, the judgment of the Bankruptcy Court is AFFIRMED.

       It is so ORDERED.

       SIGNED on this 7th day of September, 2017.


                                          ___________________________________
                                          Kenneth M. Hoyt
                                          United States District Judge




2/2
